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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-136-MCE
12                               Plaintiff,             STIPULATION REGARDING USE OF
                                                        VIDEOCONFERENCING DURING PLEA
13                         v.                           HEARING; ORDER
14   MARTIN ALBERTO MACIAS,                             DATE: June 11, 2020
                                                        TIME: 10:00 a.m.
15                               Defendant.             COURT: Hon. Morrison C. England, Jr.
16

17                                             BACKGROUND

18          On August 22, 2019, the grand jury returned an indictment charging Defendant Martin Alberto

19 Macias with a violation of 21 U.S.C. §§ 846, 841(a)(1) – conspiracy to manufacture at least 1,000
20 marijuana plants (“Count One”); 21 U.S.C. § 841(a)(1) – manufacturing at least 1,000 marijuana plants

21 (“Count Two”); and 18 U.S.C. § 1361 – depredation of public lands and resources (“Count Three”).

22 Docket No. 11.

23          On or about April 15, 2020, the United States and Defendant agreed to enter into a written plea

24 agreement.

25          On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act

26 (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States and Chief

27 District Judges to authorize felony plea and sentencing hearings by video or telephonic conference if,

28 because of emergency conditions caused by the COVID-19 pandemic, 1) such hearings “cannot be

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 1 conducted in person without seriously jeopardizing public health and safety;” 2) “the district judge in a

 2 particular case finds for specific reasons that the plea or sentencing in that case cannot be further

 3 delayed without serious harm to the interests of justice;” and 3) the defendant consents. Id., Pub. L.

 4 116-23 § 15002(b)(2), § 15002(b)(4).

 5          On March 29, 2020, the Judicial Conference of the United States made the findings required by

 6 the CARES Act, concluding that “emergency conditions due to the national emergency declared by the

 7 President under the National Emergencies Act (50 U.S.C. § 1601, et seq.) with respect to the

 8 Coronavirus Disease 2019 (COVID-19) have materially affected and will materially affect the

 9 functioning of the federal courts generally.”

10          On March 30, 2020, the Chief Judge of this District, per General Order 614, also made the

11 findings required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of Criminal

12 Procedure and felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be

13 conducted in person without seriously jeopardizing public health and safety.” Accordingly, the findings

14 of the Judicial Conference and General Order 614 establish that plea hearings cannot take safely take

15 place in person.

16           In order to authorize plea hearings by remote means, however, the CARES Act—as

17 implemented by General Order 614—also requires district courts in individual cases to “find, for

18 specific reasons, that felony pleas or sentencings in those cases cannot be further delayed without

19 serious harm to the interests of justice.” The CARES Act and General Order 614 further require that the
20 defendant consent to remote proceedings. Finally, the remote proceeding must be conducted by

21 videoconference unless “videoconferencing is not reasonably available.” In such cases, district courts

22 may conduct hearings by teleconference.

23          The parties hereby stipulate and agree that each of the requirements of the CARES Act and

24 General Order 614 have been satisfied in this case. They request that the Court enter an order making

25 the specific findings required by the CARES Act and General Order 614, so that the change of plea in

26 this matter may take place via videoteleconference. Specifically, for the reasons further set forth below,

27 the parties agree that:

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 1          1)      For the specific reasons detailed below, the plea hearing in this case cannot be further

 2 delayed without serious harm to the interests of justice, given the public health restrictions on physical

 3 contact and court closures existing in the Eastern District of California; and

 4          2)      The defendant waives his physical presence at the hearing and consents to remote hearing

 5 by Videoconference.

 6                                                STIPULATION

 7          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 8 through defendant’s counsel of record, hereby stipulate as follows:

 9          1.      The Governor of the State of California declared a Proclamation of a State of Emergency

10 to exist in California on March 4, 2020.

11          2.      On March 13, 2020, the President of the United States issued a proclamation declaring a

12 National Emergency in response to the COVID-19 pandemic.

13          3.      In their continuing guidance, the Centers for Disease Control and Prevention (CDC) and

14 other public health authorities have suggested the public avoid social gatherings in groups of more than

15 10 people and practice physical distancing (within about six feet) between individuals to potentially

16 slow the spread of COVID-19. The virus is thought to spread mainly from person-to-person contact,

17 and no vaccine currently exists.

18          4.      These social distancing guidelines – which are essential to combatting the virus – are

19 generally not compatible with holding in-person court hearings.
20          5.      On March 17, 2020, this Court issued General Order 611, noting the President and

21 Governor of California’s emergency declarations and CDC guidance, and indicating that public health

22 authorities within the Eastern District had taken measures to limit the size of gatherings and practice

23 social distancing. The Order suspended all jury trials in the Eastern District of California scheduled to

24 commence before May 1, 2020.

25          6.      On March 18, 2020, General Order 612 issued. The Order closed each of the courthouses

26 in the Eastern District of California to the public. It further authorized assigned district court judges to

27 continue criminal matters after May 1, 2020. General Order 612 incorporated General Order 611’s

28 findings regarding the health dangers posed by the pandemic.

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 1          7.       On April 16, 2020, the Judicial Counsel of the Ninth Circuit declared a judicial

 2 emergency in this District pursuant to 18 U.S.C. § 3174(d), based on the District’s “critically low

 3 resources across its heavy caseload.” The report accompanying the Judicial Counsel’s declaration

 4 analyzed the public safety dangers associated with the COVID-19 pandemic and examined both the

 5 District’s caseload (the District currently ranks first in the Ninth Circuit and eighth nationally in

 6 weighted filings) and its shortage of judicial resources (the District is currently authorized only six

 7 district judges; two of those positions are currently vacant). The report further explained that a backlog

 8 of cases exists that “can only start to be alleviated” when the CDC lifts its guidance regarding gatherings

 9 of individuals.

10          8.       On April 17, 2020, General Order 617 issued, continuing court closures through June 1,

11 2020 and authorizing further continuances of hearings.

12          9.       On May 13, 2020, General Order 618 issued, continuing court closures “until further

13 notice,” and authorizing further continuances of hearings.

14          10.      Given these facts, it is essential that Judges in this District resolve as many matters as

15 possible via videoconference and teleconference during the COVID-19 pandemic. By holding these

16 hearings now, this District will be in a better position to work through the backlog of criminal and civil

17 matters once in-person hearings resume. If the Court were to delay this hearing until it can be held in-

18 person, it would only add to the enormous backlog of criminal and civil matters facing this Court, and

19 every Judge in this District, when normal operations resume.
20          11.      In addition, Mr. Macias is a monolingual Spanish speaker who is incarcerated at the

21 Sacramento County Jail. He is one of six defendants in the above-captioned case. After months of

22 discussion, the parties have reached a plea agreement and defense counsel represents that Mr. Macias

23 now wishes to change his plea. For these reasons, the parties agree that the change of plea is time

24 sensitive.

25          12.      The plea hearing in this case accordingly cannot be further delayed without serious harm

26 to the interests of justice.

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 1          13.     Under CARES Act § 15002(b), defendant consents to proceed with this hearing by video-

 2 teleconference. Counsel joins in this consent.

 3          IT IS SO STIPULATED.

 4
      Dated: May 27, 2020                                     MCGREGOR W. SCOTT
 5                                                            United States Attorney
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                                                              /s/ DAVID W. SPENCER
 7                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
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 9
      Dated: May 27, 2020                                     /s/ Christina Sinha
10                                                            Christina Sinha
11                                                            Counsel for Defendant
                                                              MARTIN ALBERTO MACIAS
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13
                                                      ORDER
14
            1.      The Court adopts the findings above.
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            2.      Further, the Court specifically finds that:
16
                    a)      The plea hearing in this case cannot be further delayed without serious harm to
17
            the interest of justice; and
18
                    b)      The defendant has waived his physical presence at the hearing and consents to
19
            remote hearing by videoconference.
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            3.      Therefore, based on the findings above, and under the Court’s authority under § 15002(b)
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     of the CARES Act and General Order 614, the plea hearing in this case will be conducted by
22
     Videoconference.
23
            IT IS SO ORDERED.
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     Dated: May 29, 2020
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      STIPULATION REGARDING PLEA HEARING                  5
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